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 4
   ATTORNEYS FOR DEFENDANT
 5 JOHN DICHIARA

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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-0234 TLN

12                                Plaintiff,
                                                        STIPULATION AND ORDER CONTINUING
13                          v.                          STATUS CONFERENCE

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     DARIAN EIDSON,
17                                Defendants.

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21          Defendant Darian Eidson, by and through her court-appointed counsel, Robert M. Wilson, and
22 the Government, by and through Matthew Segal, Assistant United States Attorney, stipulates and request

23 that the hearing currently set in this matter on October 18, 2018, be continued to November 1, 2018.

24 The parties stipulate this matter is on remand from the Ninth Circuit and no Speed Trial waivers are

25 necessary. The parties further stipulate that counsel for the defendant need additional time to review the

26 record in this matter, to consult with prior counsel and to consult with his client. Good cause appearing,

27 the parties seek an Order from this court continuing this matter to November 1, 2018, at 9:30 a.m.

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 1         October 16, 2018                             /s/ Robert M. Wilson
                                                       ROBERT M. WILSON
 2                                                     Attorney for Aleksandr Maslov

 3
           October 16, 2018                             /s/ Matthew Segal
 4                                                     MATTHEW SEGAL
                                                       Attorney for the United States
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                                                IT IS SO ORDERED.
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           Good cause appearing, the status conference presently set for October 18, 2018, at 9:30 A.M., is
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10 hereby continued to November 1, 2018, at 9:30 A.M..

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     Dated: October 16, 2018
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                                                           HONORABLE TROY L. NUNLEY
15                                                         UNITED STATES DISTRICT COURT JUDGE
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